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                  IN THE DISTRICT COURT OF THE UNITED STATES
                      FOR THE DISTRICT OF SOUTH CAROLINA
                               BEAUFORT DIVISION

 U.S. Equal Employment                  ) Civil Action No.: 9:18-cv-00912-DCN-JDA
 Opportunity Commission,                )
                                        )
                             Plaintiff, )
                                        )
                 v.                     )                  ORDER
                                        )
 American Pride Waste Solutions, Inc., )
                                        )
                          Defendant. )
                                        )
                                        )

       Dispositive motions were due by March 5, 2019. [Doc. 24.] To date, no dispositive

motions have been filed.

       Now, therefore,

       IT IS ORDERED that the parties must file any dispositive motions within ten (10)

days of the filing date of this Order. If no dispositive motions are filed within the 10-day

period, the Court will infer that the parties wish to proceed to trial.

       IT IS SO ORDERED.

                                            s/Jacquelyn D. Austin
                                            United States Magistrate Judge

March 6, 2019
Greenville, South Carolina
